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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                              UNITED STATES DISTRICT COURT                                   March 31, 2022
                               SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


RIPPY OIL CO,                    §
                                 §
        Plaintiff,               §
                                 §
VS.                              §                     CIVIL ACTION NO. 4:22-CV-00276
                                 §
AIG SPECIALTY INSURANCE COMPANY, §
et al.,                          §
                                 §
        Defendants.              §

       ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME

       Upon considering the plaintiff, Rippy Oil Company’s unopposed motion for extension of

time to file response to defendants’ motion to dismiss, or in the alternative, to transfer or stay (Dkt.

No. 4) and joinder in same (Dkt. No. 8), the Court finds the motion is well taken and should be

granted. Therefore, the plaintiff, Rippy Oil Company is granted up to and including March 15,

2022, to file its response to the Motion to Dismiss, or in the alternative, To Transfer or Stay (Dkt.

No. 4) and Joinder in Same (Dkt. No. 8).

       It is so ORDERED.

       SIGNED on March 11, 2022, at Houston, Texas.


                                                         _________________________________
                                                         Kenneth M. Hoyt
                                                         United States District Judge




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